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                                    U.S. Department of Justice

                                    United States Attorney
                                    Northern District of Illinois
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                                                            May 6, 2021

Quinn Alexandra Michaelis
73 W. Monroe
Chicago, IL 60603
Email: qmichaelis@yahoo.com

         Re:      United States v. Martin Crossley, 20 CR 369

Dear Ms. Michaelis:

       During the trial of the above-captioned case, the government intends to
present expert testimony as detailed below. Please consider this letter to be the
government’s formal notice pursuant to Federal Rule of Criminal Procedure
16(a)(1)(G) of the government’s intention to call the following witness:

Special Agent Jeremy Bauer of the Federal Bureau of Investigation

      The government intends to call Special Agent Jeremy Bauer to testify
regarding the historical cell site analysis he performed to determine the use and
general location of the following cellular telephone:

                              Phone Number                   User
                             (630) 660-0402          Martin Crossley

       The government anticipates that Special Agent Bauer’s testimony will
include statements about how cell phone towers operate. Special Agent Bauer will
testify consistent with his report, draft charts, and maps, and the historical cellular
phone data provided to defendants in discovery. The government will produce a
draft of Special Agent Bauer’s report and accompanying materials subject to your
agreement that this information will be used for pretrial purposes only and that
you will not seek to rely on it at trial for cross-examination or any other purpose.

       Specifically, Special Agent Bauer will provide his opinion as to the general
areas in which the cellular telephone was located on the relevant date andtime of
the robbery as identified in the indictment as well as dates adjacent to the robbery
date based. That testimony will rely on information furnished by a wireless phone
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service provider concerning which cell towers the above cellular telephone
connected with during those times. Special Agent Bauer will also testify regarding
which cell tower sectors were utilized for the relevant calls close in time to the
robbery and explain that the direction of the cell tower sector utilized for any
particular call can indicate the general location of the cell phone relative to the
tower utilized for the call.

       The data supporting Special Agent Bauer’s opinions is located in the files of
the cell phone records provided by T-Mobile and previously produced in discovery
including on September 3, 2020, and January 11, 2021.

        Finally, Special Agent Bauer has testified as an expert witness on historical
cell site analysis in federal court and state court on a number of occasions, as detailed
in Special Agent Bauer’s CV, which is included with this letter.

      The government continues to evaluate whether any additional expert
witnesses will be needed for the trial and will update this disclosure if appropriate.

       Finally, as requested in the government’s letter of September 3, 2020, please
provide written summaries of any expert opinions that defendant intends offer at
trial as required by Rule 16(b)(1)(C).

       Please contact me if you have any questions.


                                               Very truly yours,

                                               JOHN R. LAUSCH, JR.
                                               United States Attorney

                                        By:    /s/ Michael J. Kelly
                                               Michael J. Kelly
                                               Timothy Storino
                                               Assistant United States Attorneys
